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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

CARMEN CALDWELL,

 Plaintiff,

-vs-                                                   CASE NO.: 6:16-CV-01676-PGB-GJK

NAVIENT SOLUTIONS, INC. and STUDENT
ASSISTANCE CORPORATION,

  Defendants.
                                         /

                                          NOTICE OF SETTLEMENT

        Plaintiff, Carmen Caldwell, by and through the undersigned counsel, hereby notifies the Court

that the parties have reached a settlement with regard to this case and are presently drafting and finalizing

the settlement agreement, and general release or documents. Upon execution of the same, the parties will

file the appropriate dismissal documents with the Court.

                                     CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished via the

Court’s CM/ECF system this 30 day of May, 2017 to the following parties: all counsel of record.


                                                  s/Octavio Gomez
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cc: James R. Betts, Mediator
